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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re
                                                                            Chapter 11
    YELLOW CORPORATION, et al1.                                             Case No. 23-11069 (CTG)
                                                                            (Jointly Administered


                        Debtors.                                            Adversary Proceeding No. 23-50457
    --------------------------------------------------------x               (CTG)
    JEFF MOORE, ELIZABETH BROOKE MOORE,
    VIDAL TORRES, ARMANDO RIVERA, JOHN
    FRANKLIN, JR., NICOLE GONZALEZ,
    RICHARD WEBB, SCOTT WEBB, DARYL
    DEVINE, RICHIE RICHARDSON, PAUL
    ASHLEY, BRANDON WILSON, DUSTIN PAGE,
    KIMBERLY SULLIVAN, ANTONIO REYES,
    SPENCER SHOOK, JOSEPH DUGUAY, SHEILA
    WOOD, SHELDON KINNEY, DUSTIN KELL,
    CHRISTOPHER DOWDY, ALEXIS GREEN,
    GREGORY HALL, MIGUEL MARTINEZ,
    RHONDA DVORAK and RODNEY DAMM, JR.
    on behalf of themselves and all others similarly
    situated,


                                           Plaintiffs,

                                    v.

    YELLOW CORPORATION; USF REDDAWAY
    INC.; 1105481 ONTARIO INC.; YELLOW
    FREIGHT CORPORATION; EXPRESS LANE
    SERVICE, INC.; YELLOW LOGISTICS, INC.;
    NEW PENN MOTOR EXPRESS LLC; YRC
    ASSOCIATION SOLUTIONS, INC.; ROADWAY
    EXPRESS INTERNATIONAL, INC.; YRC
    ENTERPRISE SERVICES, INC.; ROADWAY
    LLC; YRC FREIGHT CANADA COMPANY;
    ROADWAY NEXT DAY CORPORATION; YRC
    INC.; USF BESTWAY INC.; YRC

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 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed claims
and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place of business and the
Debtors’ service address in these chapter 11 cases is: 511500 Outlook Street, Suite 400, Overland Park, Kansas 66211.
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 INTERNATIONAL INVESTMENTS, INC.; USF
 DUGAN INC.; YRC LOGISTICS INC.; USF
 HOLLAND INTERNATIONAL SALES
 CORPORATION; YRC LOGISTICS SERVICES,
 INC.; USF HOLLAND LLC; YRC MORTGAGES,
 LLC; USF REDSTAR LLC AND YRC
 REGIONAL TRANSPORTATION, INC.

                                       Defendants.
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  PLAINTIFFS’ NOTICE OF INTENT TO FILE REPLY IN SUPPORT OF AMENDED
                   MOTION FOR CLASS CERTIFICATION

        This Court, on December 26, 2023, granted Plaintiffs’ motion for leave to file their

Second Amended Complaint (Doc. 23), which Plaintiffs filed on January 4, 2023. (Doc. 25).

On the same day, Plaintiffs filed their amended class certification motion (the “Amended Class

Certification Motion”), incorporating the Second Amended Complaint. As a result, the briefing

on Plaintiffs’ original motion for class certification is now moot. Plaintiffs intend to reply to any

arguments in opposition to Plaintiffs’ Amended Class Certification Motion pursuant to the

parties’ agreed briefing schedule (Doc. 17-1), as set forth below.

        Defendants’ deadline to respond to the Amended Class Certification Motion shall be

January 25, 2024 (twenty-one days from the filing of the Amended Class Certification Motion),

and Plaintiffs’ reply shall be due twenty-one days from the filing of Defendants’ response to the

Amended Class Certification Motion.

        Dated: January 8, 2024                                Respectfully submitted,




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                             Class




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